          Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 1 of 11




10/1/20
          Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 2 of 11




10/1/20




10/1/20
       Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 3 of 11




Sean Hudson


Trans Union, LLC, et al.




 10/1/20
             Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 4 of 11




                           Party Information Sheet Attachment
Plaintiff:
Sean Hudson, 42 Merwood Dr., Upper Darby, PA 19082.

                                      Represented by:

                                 The Kim Law Firm, LLC
                                    Richard Kim, Esquire
                                1635 Market St., Suite 1600
                                   Philadelphia, PA 19103
                                      Ph. 855-996-6342
                                      Fax 855-235-5855
                             Email: rkim@thekimlawfirmllc.com

Defendants:

Trans Union, LLC: 1510 Chester Pike, Crum Lynn, PA 19022.

Equifax Information Services LLC: The Prentice-Hall Corporation System, Inc., 830 Bear
Tavern Rd., West Trenton, NJ 08628.

Green Dot Bank: 605 East Huntington Drive, Suite 205 Monrovia, CA 91016.

OnPath Federal Credit Union: 5508 Citrus Blvd., Harahan, LA 70123.

Pennsylvania Higher Education Assistance Agency doing business as FedLoan Servicing: 1200
N 7th St, Harrisburg, PA 17102.
             Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 5 of 11




                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA


                                                 :
 Sean Hudson,                                    :
                                                 :
                        Plaintiff,               :   Civil Action No.
                                                 :
                 v.                              :
                                                 :
 Trans Union, LLC, Equifax Information           :
 Services LLC, Green Dot Bank, OnPath            :
 Federal Credit Union and Pennsylvania           :
 Higher Education Assistance Agency doing        :
 business as FedLoan Servicing.                  :
                                                 :
                        Defendants.              :
                                                 :

                             COMPLAINT AND JURY DEMAND

                                      Preliminary Statement
        1.      This is an action for damages brought by an individual consumer against the

Defendants (named below) for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

seq. (the “FCRA”).

                                      Jurisdiction and Venue
        2.      Jurisdiction of this Court arises under 15 U.S.C. § 1681p, and 28 U.S.C. §1331,
1337.
        3.      Venue lies properly in this district pursuant to 28 U.S.C. §1391(b).

                                              Parties

        4.      Plaintiff Sean Hudson is an adult individual who resides in Ho-Ho-Kus, New Jersey.

        5.      Defendant Trans Union, LLC (“TU”) is a business entity that regularly conducts

business in the Eastern District of Pennsylvania, which has a principal place of business located at

1510 Chester Pike, Crum Lynne, Pennsylvania 19022.
            Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 6 of 11




       6.      Defendant Equifax Information Services LLC (“EQ”) is a business entity that

regularly conducts business in the Eastern District of Pennsylvania, with the following registered

agent for service: The Prentice-Hall Corporation System, Inc., 830 Bear Tavern Rd., West Trenton,

NJ 08628.

       7.      Defendant Green Dot Bank (“Green Dot”) is a business entity that regularly

conducts business in the Eastern District of Pennsylvania with a principle place of business located

at: 605 East Huntington Drive, Suite 205 Monrovia, CA 91016

       8.      Defendant OnPath Federal Credit Union (“OnPath”) is a business entity that

regularly conducts business in the Eastern District of Pennsylvania with a principle place of

business located at: 5508 Citrus Blvd., Harahan, LA 70123.

       9.      Defendant Pennsylvania Higher Education Assistance Agency doing business as

FedLoan Servicing (“FedLoan”) is a business entity that regularly conducts business in the Eastern

District of Pennsylvania with a principle place of business located at: 1200 N 7th St, Harrisburg,

PA 17102.

                                               Facts

       10.     Defendants have repeatedly reported derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties (hereafter the

“inaccurate information”).

       11.     The inaccurate information involves the misreporting of three separate trade lines.

       12.     The Green Dot trade line reported through TU and EQ are not accurate because

they fail to take into account Plaintiff’s settlement and partial payment of the debt reported by

Green Dot. Plaintiff disputed the inaccurate information with these Defendants but the Defendants

continue to inaccurately report, among other things, a balance, fail to mention the settlement, and
           Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 7 of 11




have omitted meaningful information accounting for the payment and settlement with Plaintiff.

       13.     The OnPath trade line reported through EQ and is not accurate because it also fails

to take into Plaintiff’s settlement and partial payment of the debt reported by OnPath. Plaintiff

disputed the inaccurate information with these Defendants but the Defendants continue to

inaccurately report, among other things, a balance, fail to mention the settlement, and have omitted

meaningful information accounting for the payment and settlement with Plaintiff.

       14.     The FedLoan trade line reported by Equifax is not accurate because, among other

things, it claims that Plaintiff had failed to make payments on the student loan when the loan was

not due. The late payment dates were during periods when the loan was deferred and payment

was not obligated by Plaintiff. Plaintiff disputed the inaccurate information with these Defendants

but the Defendants continue to inaccurately report this trade line.

       15.     Defendants have reported false and inaccurate credit information and consumer

credit reports that they have disseminated to various persons and credit grantors, both known and

unknown.

       16.     Defendants either did not engage in any investigation when they were informed of

the inaccurate reporting, or (alternatively) did not engage in a reasonable investigation, as such an

investigation would have revealed that the inaccurate information was false.

       17.     Defendants also failed to institute or adhere to policies and procedures that could

have prevented the reporting of the inaccurate information.

       18.     Defendants knew or should have known that its actions violated the FCRA.

Additionally, Defendants could have taken the steps necessary to bring their agents’ actions within

compliance of the statutes, but neglected to do so and failed to adequately review those actions to

insure compliance with said laws.
          Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 8 of 11




       19.     Plaintiff’s credit report and file have been obtained from TU and EQ and have been

reviewed by prospective and existing credit grantors and extenders of credit, and the inaccurate

information has been a substantial factor in precluding Plaintiff from receiving credit offers and

opportunities, known and unknown. Plaintiff’s credit reports have been obtained from TU and EQ

by such third parties. Plaintiff has also suffered increased interest rates, reduced opportunities for

financing, and increased insurance premiums as a substantial result of Defendants reporting of the

inaccurate information.

       20.     Because of Defendants’ conduct, Plaintiff has suffered actual damages in the form

of credit denial or loss of credit opportunity, credit score reduction, informational harm, privacy

harm, credit defamation and emotional distress, including, but not limited to, anxiety, frustration,

embarrassment, and humiliation.

       21.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendants herein.

       22.     At all times pertinent hereto, the conduct of the Defendants, as well as that of its

agents, servants and/or employees, was intentional, willful, reckless, and in grossly negligent

disregard for federal laws and the rights of Plaintiff.

                              Count One – Violations of the FCRA
                                      Plaintiff v. TU and EQ

       23.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       24.     At all times pertinent hereto, TU and EQ are each a “person” and a “consumer

reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

       25.     At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined by
            Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 9 of 11




15 U.S.C. § 1681a(c).

       26.       At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       27.       Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Defendants are liable to

Plaintiff for willfully and negligently failing to comply with the requirements imposed on a

consumer reporting agency of information pursuant to 15 U.S.C. § 1681e(b) and 15 U.S.C. §

1681i(a).

       28.       The conduct of Defendants was a direct and proximate cause, as well as a

substantial factor, in bringing about the actual damages and harm to Plaintiff that are outlined more

fully above and, as a result, Defendant is liable to Plaintiff for the full amount of statutory, actual

and punitive damages, along with the attorneys’ fees and the costs of litigation, as well as such

further relief, as may be permitted by law.

                               Count Two – Violations of the FCRA
                           Plaintiff v. Green Dot, OnPath and FedLoan

       29.       Plaintiff incorporates the foregoing paragraphs as though the same were set forth at

length herein.

       30.       At all times pertinent hereto, Green Dot, OnPath and FedLoan were each a “person”

as that term is defined by 15 U.S.C. § 1681a(b).

       31.       At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined by

15 U.S.C. § 1681a(c).

       32.       Green Dot, OnPath and FedLoan violated Sections 1681n and 1681o of the FCRA

by engaging in the following conduct:

             a. willfully and negligently failing to conduct a reasonable investigation of the

                 inaccurate information that Plaintiff disputed;
         Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 10 of 11




             b. willfully and negligently failing to review all relevant information concerning

                 Plaintiff’s inaccurately reported trade lines;

             c. willfully and negligently failing to report the results of investigations to the relevant

                 consumer reporting agencies;

             d. willfully and negligently failing to report the accurate status of the inaccurate

                 information to all credit reporting agencies;

             e. willfully and negligently failing to provide all credit reporting agencies with the

                 factual information and evidence that Plaintiff provided to Green Dot, OnPath and

                 FedLoan;

             f. willfully and negligently continuing to furnish and disseminate inaccurate,

                 unlawful and derogatory credit account and other information concerning Plaintiff

                 to credit reporting agencies and other entities; and

             g. willfully and negligently failing to comply with the requirements imposed on

                 furnishers of information pursuant to 15 U.S.C. §1681s-2(b).

       33.       The conduct of Green Dot, OnPath and FedLoan was a direct and proximate cause,

as well as a substantial factor in bringing about the serious injuries, actual damages and harm to

Plaintiff that are outlined more fully above. As a result, Defendants are liable to Plaintiff for the

full amount of statutory, actual and punitive damages, along with the attorneys’ fees and the costs

of litigation, as well as such further relief, as may be permitted by law.

                                      JURY TRIAL DEMAND

       34.       Plaintiff demands trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

               WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against
         Case 2:20-cv-04832-TJS Document 1 Filed 10/01/20 Page 11 of 11




the Defendant, based on the following requested relief:

               a.      Actual damages;

               b.      Statutory damages;

               c.      Punitive damages;

               d.      Costs and reasonable attorneys’ fees; and

               e.      Such other relief as may be necessary, just and proper.



                                             THE KIM LAW FIRM, LLC


                                             /s/ Richard H. Kim
                                             Richard Kim, Esquire
                                             Attorney I.D. No. PA: 202618
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                                             Attorneys for Plaintiff Sean Hudson


Dated:   October 1, 2020
